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               IN THE UNITED STATES DISTRICT COURT FOR THE

                         DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:13CR437
                              )
          v.                  )
                              )
DAVID GARCIA,                 )                      ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on plaintiff’s motion

to continue (Filing No. 67).       The Court finds the motion should

be granted.   Accordingly,

          IT IS ORDERED that plaintiff’s motion is granted;

sentencing is rescheduled for:

                Thursday, August 28, 2014, at 9 a.m.

Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska, or as soon thereafter as may

be called by the Court.

          DATED this 13th day of August, 2014.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   ______________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court
